     Case 1:19-cr-00049-ADA-BAM Document 34 Filed 03/23/20 Page 1 of 1


1
2
3
4
5
6                             IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8     UNITED STATES OF AMERICA,                  )      Case №: 1:19-CR-00049-2-DAD-BAM
                                                 )
9                    Plaintiff,                  )                    ORDER
                                                 )               APPOINTING COUNSEL
10           vs.                                 )
                                                 )
11    RAFAEL MEDINA LABRADA,                     )
                                                 )
12                   Defendant.                  )
                                                 )
13
            The above named Defendant has, under oath, sworn or affirmed as to his financial
14
15   inability to employ counsel or has otherwise satisfied this Court that he is financially unable to

16   obtain counsel and wishes counsel be appointed to represent him. Therefore, in the interests of

17   justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
18
            IT IS HEREBY ORDERED that Galatea DeLapp be appointed to represent the above
19
     defendant in this case effective nunc pro tunc to March 19, 2020, substituting for Michael
20
     Berdinella.
21
22          This appointment shall remain in effect until further order of this court.

23
24   IT IS SO ORDERED.
25
        Dated:     March 23, 2020                              /s/ Barbara A. McAuliffe               _
26                                                      UNITED STATES MAGISTRATE JUDGE
27
28

                                                      -1-
